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 9
                           UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11
                                 WESTERN DIVISION
12
13 United States of America,                    Case No. 2:21-cv-06746
14              Plaintiff,                      Complaint to reduce FBAR penalties
                                                to judgment
15                    v.
16 Laura Kim,
17              Defendant.
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 1         The United States of America, by its undersigned counsel, brings this
 2   civil action to reduce to judgment the unpaid FBAR penalty assessments,
 3   interest thereon, and late payment penalties as provided by law. For its
 4   complaint against the above-named defendant, the United States of America
 5   complains and alleges as follows.
 6                               I. General Allegations
 7   Jurisdiction and Venue
 8         1.   This Court has jurisdiction over this action under 28 U.S.C. §§
 9   1331, 1345, and 1355(a) because this action arises under the laws of the
10   United States and because the United States is the plaintiff.
11         2.   This action is commenced at the direction of the Attorney General
12   of the United States and at the request of, and with the authorization of, the
13   Chief Counsel of the Internal Revenue Service, a delegate of the Secretary of
14   the Treasury of the United States, pursuant to 31 U.S.C. § 3711(g)(4)(C), and
15   in accordance with 31 U.S.C. § 5321(b)(2).
16         3.   Venue for this action is within the Central District of California
17   under 28 U.S.C. §§ 1391(b)(1) and (b)(2) because Defendant resides in this
18   district and because a substantial part of the events or omissions giving rise
19   to the claim occurred within this judicial district.
20   Statutory and regulatory provisions for the FBAR penalty
21         4.   Citizens of the United States are required to report to the IRS
22   certain activity with foreign financial agencies for each year in which the
23   activity occurs. 31 U.S.C. § 5314(a); 31 C.F.R. § 1010.350(a).
24         5.   One such activity is “having a financial interest in, or signature
25   or other authority over, a bank, securities, or other financial account in a
26   foreign country.” 31 C.F.R. § 1010.350(a).
27         6.   The form that needs to be completed for this annual reporting
28   requirement is the Report of Foreign Bank and Financial Accounts (FBAR).
                                             2
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 1         7.      For calendar years before 2017, the FBAR report for foreign
 2   financial accounts exceeding $10,000 maintained during a calendar year was
 3   due by June 30 of the following calendar year. 31 C.F.R. § 1010.306(c).
 4         8.      Civil penalties can be assessed against an individual who,
 5   whether willfully or non-willfully, fails to comply with these reporting
 6   requirements. 31 U.S.C. § 5321(a)(5)(A).
 7         9.      For willful violations, the penalty assessed is the greater of
 8   $100,000 or 50% of the balance in the foreign financial account at the time of
 9   the violation. 31 U.S.C. § 5321(a)(5)(C)(i).
10               II. Claim for Relief: Reduce Assessments to Judgment
11         10.     The allegations made in the preceding paragraphs in this
12   complaint are incorporated herein by reference.
13         11.     Defendant was born in 1944 and immigrated to the United States
14   in 1968.
15         12.     Defendant is a United States citizen.
16         13.     Defendant speaks fluent English.
17         14.     Defendant has a Ph.D. in ecological engineering.
18         15.     Defendant operates multiple businesses in the United States and
19   the Republic of Korea (South Korea).
20         16.     Defendant is the 100% owner of Laura’s Distribution Company,
21   LK Waters, and Marina Enterprises, which are all incorporated in South
22   Korea.
23         17.     Defendant is the 90% owner of Laura’s French Baking Company,
24   which is located in Los Angeles, California.
25   FBAR Filings
26         18.     For each of the years 2009 through 2012, Defendant was required
27   to file an FBAR by June 30 of the following year and report her foreign
28   financial accounts exceeding $10,000.
                                               3
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 1         19.   In 2009, Defendant had a financial interest in, or signature or
 2   other authority over, at least 17 foreign bank accounts.
 3         20.   In 2010, Defendant had a financial interest in, or signature or
 4   other authority over, at least 29 foreign bank accounts.
 5         21.   In 2011, Defendant had a financial interest in, or signature or
 6   other authority over, at least 26 foreign bank accounts.
 7         22.   In 2012, Defendant had a financial interest in, or signature or
 8   other authority over, at least 23 foreign bank accounts.
 9         23.   In 2009, Defendant had combined monthly foreign bank account
10   balances that averaged over $5,000,000.
11         24.   In 2010, Defendant had combined monthly foreign bank account
12   balances that averaged over $8,000,000.
13         25.   In 2011, Defendant had combined monthly foreign bank account
14   balances that averaged over $7,000,000.
15         26.   In 2012, Defendant had combined monthly foreign bank account
16   balances that averaged over $4,000,000.
17         27.   Attached as Exhibit A is a summary of 56 foreign bank accounts
18   from January 2009 through December 2012 that Defendant had a financial
19   interest in, or signature or other authority over.
20         28.   For each of the years 2009 through 2012, Defendant filed an
21   FBAR.
22   ///
23   ///
24   ///
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 1         29.   The following is a summary of the foreign bank accounts reported
 2   by Defendant on her 2009 FBAR filed in 2010:
 3                                                          Last 4 of    Maximum
                                                            Account       Value
 4
     Foreign Bank Listed by Defendant on FBAR               Number       Reported
 5   Standard Chartered First Bank Korea Limited              2994      $   79,953
 6   Standard Chartered First Bank Korea Limited              3627      $    7,180
     Standard Chartered First Bank Korea Limited              0218      $   85,872
 7   Woori Bank                                               6411      $ 319,716
 8   Total Reported on FBAR for 2009                                    $ 492,721

 9
10         30.   The following is a summary of the foreign bank accounts reported
11   by Defendant on her 2010 FBAR filed in 2011:
12                                                        Last 4 of
13                                                        Account       Maximum
     Foreign Bank Listed by Defendant on FBAR             Number      Value Reported
14
     Laura Hija J Kim (Savings)                             N/A       $      90,417
15   Woori Bank                                            1003       $     211,471
16   Woori Bank                                            9362       $     305,885
     Total Reported on FBAR for 2010                                  $     607,773
17
18
           31.   The following is a summary of the foreign bank accounts reported
19
     by Defendant on her 2011 FBAR filed in 2012:
20
21                                                        Last 4 of
                                                          Account     Maximum
22   Foreign Bank Listed by Defendant on FBAR             Number Value Reported
23   Woori Bank                                             5527    $     88,811
24   Standard Chartered First Bank Korea Limited           1528     $    175,000
     Total Reported on FBAR for 2011                                $    263,811
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 1         32.   The following is a summary of the foreign bank accounts reported
 2   by Defendant on her 2012 FBAR filed in 2013:
 3                                                        Last 4 of
 4                                                        Account     Maximum
     Foreign Bank Listed by Defendant on FBAR             Number Value Reported
 5   Woori Bank                                            61AB $        435,389
 6   Standard Chartered First Bank Korea Limited           7610     $     59,627
 7   Total Reported on FBAR for 2012                                $    495,016

 8
 9   Income Tax Returns
10         33.   For tax years 2009 through 2012, Defendant’s tax returns were
11   prepared by Michael Khim, CPA.
12         34.   Michael Khim found out that Defendant had foreign bank
13   accounts in the fourth quarter of 2012.
14         35.   For tax years 2009 through 2011, Defendant reported that she
15   had no foreign bank accounts on Schedule B of Form 1040.
16         Schedule B
17         36.   Defendant’s tax returns for tax years 2009 through 2011 included
18   Schedule B – Interest and Ordinary Dividends.
19         37.   For tax years 2009 through 2011, Part III of Schedule B contained
20   the following text:
21
22         You must complete this part if you (a) had over $1,500 of taxable
23         interest or ordinary dividends; or (b) had a foreign account; or (c)
24         received a distribution from, or were a grantor of, or a transferor to, a
25         foreign trust.
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 1         38.   Defendant had foreign bank accounts for tax years 2009 through
 2   2011, so she was required to complete Part III of Schedule B, including
 3   question 7(a) for each of those years.
 4         39.   For tax year 2009, on Part III of Schedule B, question 7(a) asked:
 5
 6         At any time during 2009, did you have an interest in or a signature or
 7         other authority over a financial account in a foreign country, such as a
 8         bank account, securities account, or other financial account? See
 9         instructions on back for exceptions and filing requirements for Form
10         TD F 90-22.1.
11
12         40.   For tax year 2009, Defendant’s tax returns checked the “No” box
13   for question 7(a).
14         41.   For tax year 2010, on Part III of Schedule B, question 7(a) asked:
15
16         At any time during 2010, did you have an interest in or a signature or
17         other authority over a financial account in a foreign country, such as a
18         bank account, securities account, or other financial account? See
19         instructions on back for exceptions and filing requirements for Form
20         TD F 90-22.1.
21
22         42.   For tax year 2010, Defendant’s tax returns checked the “No” box
23   for question 7(a).
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 1         43.   For tax year 2011, on Part III of Schedule B, the first part of
 2   question 7(a) asked:
 3
 4         At any time during 2011, did you have a financial interest in or
 5         signature authority over a financial account (such as a bank account,
 6         securities account, or brokerage account) located in a foreign country?
 7         See instructions.
 8
 9         44.   For tax year 2011, on Part III of Schedule B, the second part of
10   question 7(a) stated:
11
12         If “Yes,” are you required to file Form TD F 90-22.1 to report that
13         financial interest or signature authority? See Form TD F 90-22.1 and
14         its instructions for filing requirements and exceptions to those
15         requirements.
16
17         45.   For tax year 2011, Defendant’s tax returns checked the “No” box
18   for both parts of question 7(a).
19         Understatement of tax liabilities
20         46.   For tax years 2009 through 2012, Defendant’s foreign bank
21   accounts earned interest income.
22         47.   For tax years 2009 through 2012, Defendant understated her
23   interest income from her foreign bank accounts on her U.S. Individual
24   Income Tax Returns.
25         48.   For tax years 2009 through 2012, Defendant understated her
26   income tax liabilities on her U.S. Individual Income Tax Returns.
27         49.   For tax years 2009 through 2012, Defendant reviewed her U.S.
28   Individual Income Tax Returns before they were filed with the IRS.
                                             8
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 1          50.   For tax years 2009 through 2012, Defendant signed her U.S.
 2   Individual Income Tax Returns under penalties of perjury affirming that she
 3   had examined her tax returns and accompanying schedules and to the best of
 4   her knowledge and belief, they were true, correct, and complete.
 5          51.   For tax years 2009 through 2012, Defendant authorized the filing
 6   of her U.S. Individual Income Tax Returns before they were filed with the
 7   IRS.
 8   Defendant willfully failed to file FBARs for tax years 2009 through
 9   2012
10          52.   For the years 2009 through 2012, Defendant knew that she was
11   required to file an FBAR with the IRS by June 30 of the following year and
12   report each foreign bank account that she owned or had signature authority
13   over with a balance of over $10,000.
14   ///
15   ///
16   ///
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 1          Calendar Year 2009
 2          53.    For the year 2009, Defendant filed an FBAR but willfully failed to
 3    report all the foreign bank accounts for which she had a financial interest or
 4    signature authority.
 5          54.    The following is a summary for 2009 of foreign bank accounts
 6    that Defendant had a financial interest in, or signature authority over, with
 7    a maximum value over $90,000 during the year, the amount she did report,
 8    the value of the account on the date the FBAR was due to be filed if it was
 9    over $200,000, and the maximum willful FBAR penalty that could have been
10    assessed on those accounts:
11                                                Maximum
                                                   Value
12                  Last 4 of                   Reported by Value on June        Maximum
13     Foreign      Account       Maximum       Defendant on    30, 2010 (if   Willful FBAR
        Bank        Number      Value in 2009      FBAR       over $200,000)     Penalty
14    Woori Bank     0361       $   1,217,582   $         -                    $     100,000
15    Woori Bank     0365       $     264,209   $         -                    $     100,000
      Woori Bank     0368       $     266,384   $         -                    $     100,000
16    Woori Bank     2033       $   1,430,707   $         -                    $     100,000
      Woori Bank     2308       $     536,492   $         -                    $     100,000
17
      Woori Bank     3441       $   1,677,843   $         -                    $     100,000
18    Woori Bank     3626       $   1,594,578   $         -                    $     100,000
      Woori Bank     4317       $     472,484   $         -                    $     100,000
19    Woori Bank     5806       $     175,928   $         -                    $     100,000
20    Woori Bank     6005       $   1,674,537   $         -                    $     100,000
      Woori Bank     6411       $     528,352   $    319,716                   $     100,000
21    Woori Bank     6658       $   2,034,712   $         -                    $     100,000
22    Woori Bank     6817       $     438,357   $         -                    $     100,000
                                                    Total Maximum Penalty      $   1,300,000
23
24
            55.    On August 20, 2019, the IRS assessed a willful FBAR penalty
25
      against Defendant for the year 2009 in the amount of $1,014,109.85.
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 1          Calendar Year 2010
 2          56.    For the year 2010, Defendant filed an FBAR but willfully failed to
 3    report all the foreign bank accounts for which she had a financial interest or
 4    signature authority.
 5          57.    The following is a summary for 2010 of foreign bank accounts
 6    that Defendant had a financial interest in, or signature authority over, with
 7    a maximum value over $90,000 during the year, the amount she did report,
 8    the value of the account on the date the FBAR was due to be filed if it was
 9    over $200,000, and the maximum willful FBAR penalty that could have been
10    assessed on those accounts:
11                                                Maximum
                                                   Value
12                  Last 4 of                   Reported by Value on June        Maximum
13     Foreign      Account       Maximum       Defendant on    30, 2011 (if   Willful FBAR
        Bank        Number      Value in 2010      FBAR       over $200,000)     Penalty
14    Woori Bank     1017       $   1,829,760   $         -                    $     100,000
15    Woori Bank     1478       $     487,504   $         -                    $     100,000
      Woori Bank     2033       $     967,267   $         -                    $     100,000
16    Woori Bank     2274       $   5,410,828   $         -                    $     100,000
      Woori Bank     2323       $   8,339,809   $         -                    $     100,000
17
      Woori Bank     2567       $     578,818   $         -                    $     100,000
18    Woori Bank     2748       $     423,580   $         -                    $     100,000
      Woori Bank     3441       $     136,278   $         -                    $     100,000
19    Woori Bank     4207       $   2,190,102   $         -                    $     100,000
20    Woori Bank     4765       $   5,084,023   $         -                    $     100,000
      Woori Bank     4889       $     849,328   $         -   $      788,497   $     394,248
21    Woori Bank     6397       $   1,063,945   $         -                    $     100,000
22    Woori Bank     7795       $     270,687   $         -                    $     100,000
      Woori Bank     9362       $   1,148,057   $    305,885 $       204,453   $     102,226
23    Woori Bank     9368       $     424,488   $         -                    $     100,000
                                                    Total Maximum Penalty      $   1,796,474
24
25          58.    On August 20, 2019, the IRS assessed a willful FBAR penalty
26    against Defendant for the year 2010 in the amount of $1,014,109.85.
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 1          Calendar Year 2011
 2          59.    For the year 2011, Defendant filed an FBAR but willfully failed to
 3    report all the foreign bank accounts for which she had a financial interest or
 4    signature authority.
 5          60.    The following is a summary for 2011 of foreign bank accounts
 6    that Defendant had a financial interest in, or signature authority over, with
 7    a maximum value over $90,000 during the year, the amount she did report,
 8    the value of the account on the date the FBAR was due to be filed if it was
 9    over $200,000, and the maximum willful FBAR penalty that could have been
10    assessed on those accounts:
11                                                Maximum
                                                   Value
12                  Last 4 of                   Reported by Value on June        Maximum
13     Foreign      Account       Maximum       Defendant on    30, 2012 (if   Willful FBAR
        Bank        Number      Value in 2011      FBAR       over $200,000)     Penalty
14    Woori Bank     0302       $   2,195,780   $         -                    $     100,000
15    Woori Bank     0758       $   3,021,000   $         -                    $     100,000
      Woori Bank     2033       $     162,663   $         -                    $     100,000
16    Woori Bank     2323       $   8,093,548   $         -                    $     100,000
      Woori Bank     3441       $     141,448   $         -                    $     100,000
17
      Woori Bank     3570       $     777,162   $         -                    $     100,000
18    Woori Bank     4681       $   2,125,485   $         -   $      672,656   $     336,328
      Woori Bank     4889       $     912,641   $         -   $      830,069   $     415,035
19    Woori Bank     5417       $     586,620   $         -                    $     100,000
20    Woori Bank     6411       $     176,629   $         -                    $     100,000
      Woori Bank     9362       $     714,908   $    305,885                   $     100,000
21                                                  Total Maximum Penalty      $   1,651,363
22
            61.    On August 20, 2019, the IRS assessed a willful FBAR penalty
23
      against Defendant for the year 2011 in the amount of $1,014,109.85.
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 1          Calendar Year 2012
 2          62.    For the year 2012, Defendant filed an FBAR but willfully failed to
 3    report all the foreign bank accounts for which she had a financial interest or
 4    signature authority.
 5          63.    The following is a summary for 2012 of foreign bank accounts
 6    that Defendant had a financial interest in, or signature authority over, with
 7    a maximum value over $90,000 during the year, the amount she did report,
 8    the value of the account on the date the FBAR was due to be filed if it was
 9    over $200,000, and the maximum willful FBAR penalty that could have been
10    assessed on those accounts:
11                                                Maximum
                                                   Value
12                  Last 4 of                   Reported by Value on June        Maximum
13     Foreign      Account       Maximum       Defendant on    30, 2013 (if   Willful FBAR
        Bank        Number      Value in 2012      FBAR       over $200,000)     Penalty
14    Woori Bank     2001       $     128,677   $         -                    $     100,000
15    Woori Bank     3441       $     128,677   $         -                    $     100,000
      Woori Bank     3558       $   3,048,903   $         -   $    2,780,514   $   1,390,257
16    Woori Bank     3908       $      97,709   $         -                    $     100,000
      Woori Bank     4681       $     919,756   $         -                    $     100,000
17
      Woori Bank     4889       $     899,416   $         -   $      930,959   $     465,480
18    Woori Bank     5183       $      99,033   $         -                    $     100,000
      Woori Bank     5417       $     296,314   $         -                    $     100,000
19    Woori Bank     8765       $     630,809   $         -                    $     100,000
20    Woori Bank     9362       $     577,415   $         -   $      550,437   $     275,219
      Woori Bank     9546       $   2,684,937   $         -                    $     100,000
21    Woori Bank     9689       $     113,902   $         -                    $     100,000
22                                                  Total Maximum Penalty      $   3,030,955

23          64.    On August 20, 2019, the IRS assessed a willful FBAR penalty
24    against Defendant for the year 2009 in the amount of $1,014,109.85.
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 1    FBAR Penalty Assessment
 2          65.   On April 23, 2018, Defendant signed a Consent to Extend the
 3    Time to Assess Civil Penalties Provided by 31 U.S.C. § 5321 for FBAR
 4    Violations for the years 2009, 2010, 2011, and 2012 to extend the statute of
 5    limitations on assessment to December 31, 2019.
 6          66.   On August 20, 2019, the IRS assessed willful FBAR penalties
 7    against Defendant for tax years 2009 through 2012 in the amount of
 8    $1,014,109.85 per year for a total of $4,056,439.40.
 9          67.   On August 26, 2019, notice and demand for payment was sent to
10    Defendant for tax years 2009 through 2012.
11          68.   Despite timely notice and demand for payment of the FBAR
12    assessment, Defendant has failed to pay the FBAR and late payment
13    penalties assessed against him for tax years 2009 through 2012.
14          69.   Interest and penalties have accrued on the assessed FBAR
15    penalties as provided by law.
16          70.   As of August 6, 2020, Defendant was liable to the United States
17    for $4,330,276.85, which is comprised of the FBAR penalty, interest, and
18    penalties for late payment under 31 U.S.C. § 3717(e)(2) for tax years 2009
19    through 2012.
20    ///
21    ///
22    ///
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 1                                III. Relief Requested
 2          WHEREFORE, the United States of America requests the following
 3    relief from the Court:
 4          A.    Enter judgment in favor of the United States of America and
 5    against Defendant in the amount of $4,330,276.85 as of August 6, 2020, plus
 6    all statutory accruals, including interest and penalties, plus costs and
 7    expenses;

 8          B.    Grant the United States its costs incurred in bringing this action;

 9    and
            C.    Order any further relief the Court deems just and appropriate.
10
11
                                         Respectfully submitted,
12
                                         TRACY L. WILKISON
13                                       Acting United States Attorney
                                         THOMAS D. COKER
14                                       Assistant United States Attorney
                                         Chief, Tax Division
15
16
      Dated: August 20, 2021             /s/
17                                       GAVIN GREENE
                                         Assistant United States Attorney
18                                       Attorneys for the United States of America
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                Exhibit A
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                       Last 4 of
                       Account Balance in Balance in Balance in Balance in
Foreign Bank           Number    2009       2010       2011       2012
Woori Bank              0207                 Yes
Woori Bank              0302      Yes        Yes        Yes        Yes
Woori Bank              0361      Yes        Yes        Yes        Yes
Woori Bank              0365      Yes        Yes        Yes
Woori Bank              0368      Yes        Yes        Yes
Woori Bank              0758      Yes
Woori Bank              1017      Yes
Woori Bank              1478      Yes
Woori Bank              1926      Yes
Woori Bank              2001      Yes        Yes                   Yes
Woori Bank              2033      Yes
Woori Bank              2274      Yes
Woori Bank              2308      Yes
Woori Bank              2323      Yes        Yes
Woori Bank              2567      Yes                   Yes        Yes
Woori Bank              2748      Yes
Woori Bank              3001      Yes        Yes        Yes        Yes
Woori Bank              3441      Yes
Woori Bank              3558                 Yes        Yes        Yes
Woori Bank              3570                 Yes
Woori Bank              3626                 Yes
Woori Bank              3627                 Yes        Yes        Yes
Woori Bank              3908                 Yes        Yes        Yes
Woori Bank              4186                 Yes
Woori Bank              4207                 Yes
Woori Bank              4317                 Yes
Woori Bank              4681                 Yes
Woori Bank              4708                                       Yes
Woori Bank              4765                 Yes        Yes        Yes
Woori Bank              4889                 Yes
Woori Bank              5183                                       Yes
Woori Bank              5282                 Yes
Woori Bank              5293                 Yes
Woori Bank              5301                 Yes
Woori Bank              5417                 Yes
Woori Bank              5711                 Yes        Yes        Yes
Woori Bank              5806                 Yes        Yes        Yes
Woori Bank              6005                 Yes        Yes
Woori Bank              6048                            Yes
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                       Last 4 of
                       Account Balance in Balance in Balance in Balance in
Foreign Bank           Number    2009       2010       2011       2012
Woori Bank              6258                 Yes        Yes
Woori Bank              6397                 Yes        Yes
Woori Bank              6411                 Yes
Woori Bank              6539                            Yes
Woori Bank              6658                            Yes
Standard Chartered*     6699                            Yes
Woori Bank              6817                            Yes        Yes
Woori Bank              7795                            Yes        Yes
Woori Bank              7808                            Yes
Woori Bank              8740                            Yes        Yes
Woori Bank              8765                                       Yes
Woori Bank              9362                            Yes        Yes
Woori Bank              9368                            Yes        Yes
Woori Bank              9534                                       Yes
Woori Bank              9546                                       Yes
Woori Bank              9676                                       Yes
Woori Bank              9689                            Yes        Yes

* Standard Chartered First Bank Korea Limited
